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                             14   and Debtors in Possession
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                             15

                             16                              UNITED STATES BANKRUPTCY COURT

                             17                              NORTHERN DISTRICT OF CALIFORNIA

                             18                                     SAN FRANCISCO DIVISION

                             19
                                                                                    Bankruptcy Case No. 19-30088 (DM)
                             20
                                   In re:                                           Chapter 11
                             21                                                     (Lead Case) (Jointly Administered)
                                   PG&E CORPORATION,
                             22                                                     NOTICE OF HEARING ON MOTION TO
                                            - and -                                 ENFORCE THE AUTOMATIC STAY
                             23                                                     AGAINST RICK BOWLINGER AND
                                   PACIFIC GAS AND ELECTRIC                         BOTTINI & BOTTINI, INC., PURSUANT
                             24    COMPANY,                                         TO 11 U.S.C. § 362(A)(3)

                             25                                 Debtors.            Date: April 24, 2019
                                                                                    Time: 9:30 a.m. (Pacific Time)
                             26     Affects PG&E Corporation                       Place: United States Bankruptcy Court
                                    Affects Pacific Gas and Electric Company              Courtroom 17, 16th Floor
                             27     Affects both Debtors                                  San Francisco, CA 94102

                             28    * All papers shall be filed in the Lead Case,    Objection Deadline: April 10, 2019
                                   No. 19-30088 (DM).                                                   4:00 p.m. (Pacific Time)


                             Case: 19-30088       Doc# 895     Filed: 03/14/19     Entered: 03/14/19 19:05:51    Page 1 of 2
 1   TO: RICK BOWLINGER; BOTTINI & BOTTINI, INC.

 2          PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and
 3   debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
     Cases”), each filed a voluntary petition for relief under chapter 11 of title 11 of the United States
 4
     Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District of
 5   California (San Francisco Division) (the “Bankruptcy Court”).

 6          PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
     April 24, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
 7   Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden
     Gate Avenue, San Francisco, California 94102.
 8

 9          PLEASE TAKE FURTHER NOTICE that, in addition to any other matters scheduled for
     the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Motion to Enforce the
10   Automatic Stay Against Rick Bowlinger and Bottini & Bottini, Inc., Pursuant to 11 U.S.C.
     § 362(a)(3) [Dkt. No. 893] (the “Motion”).
11
            PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Motion must
12
     be in writing, filed with the Bankruptcy Court, and served on the counsel for the Debtors at the
13   above-referenced addresses so as to be received by no later than 4:00 p.m. (Pacific Time) on
     April 10, 2019. Any oppositions or responses must be filed and served on all “Standard Parties” as
14   defined in, and in accordance with, the Order Implementing Certain Notice and Case Management
     Procedures entered on March 6, 2019 [Dkt No. 759] (“Case Management Order”). Any relief
15   requested in the Motion may be granted without a hearing if no opposition is timely filed and
16   served in accordance with the Case Management Order. In deciding the Motion, the Court may
     consider any other document filed in these Chapter 11 Cases and related Adversary Proceedings.
17
              PLEASE TAKE FURTHER NOTICE that copies of the Motion and its supporting papers
18   can be viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov,
     (ii) by contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
19   94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC , at
     https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
20
     parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
21   Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.

22   Dated: March 14, 2019
                                            WEIL, GOTSHAL & MANGES LLP
23
                                             KELLER & BENVENUTTI LLP
24

25                                           /s/ Peter J. Benvenutti
                                                          Peter J. Benvenutti
26
                                             Proposed Attorneys for Debtors and Debtors in
27                                           Possession
28


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